Case 18-24305
Case 18-24305 Claim
              Doc 29-3
                    2-1   Filed
                          Filed 01/25/19
                                11/16/18   Page 15 of 49
Case 18-24305
Case 18-24305 Claim
              Doc 29-3
                    2-1   Filed
                          Filed 01/25/19
                                11/16/18   Page 26 of 49
Case 18-24305
Case 18-24305 Claim
              Doc 29-3
                    2-1   Filed
                          Filed 01/25/19
                                11/16/18   Page 37 of 49
Case 18-24305
Case 18-24305 Claim
              Doc 29-3
                    2-1   Filed
                          Filed 01/25/19
                                11/16/18   Page 48 of 49
